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Kenneth B. Black (05588)
ken.black@stoel.com
Michael R. Menssen (15424)
michael.menssen@stoel.com
STOEL RIVES LLP
201 S. Main Street, Suite 1100
Salt Lake City, UT 84111
Telephone: (801) 328-3131

Attorneys for Defendants
PolarityTE, Inc.; Denver Lough; and Jeff Dyer


                        IN THE UNITED STATES DISTRICT COURT

                                    DISTRICT OF UTAH


YEDID LAWI, Individually, and on Behalf of        DEFENDANT POLARITYTE, INC.’S
All Others Similarly Situated,                    RULE 7.1 CORPORATE
                                                  DISCLOSURE STATEMENT
                  Plaintiff,

       v.                                         Case No. 2:18-cv-00541-DB

POLARITYTE, INC.; DENVER LOUGH;                   The Honorable Dee Benson
and JEFF DYER,

                  Defendants.




       Pursuant to Federal Rule of Civil Procedure 7.1, Defendant PolarityTE, Inc.

(“PolarityTE”), by and through undersigned counsel, hereby discloses the following: PolarityTE

is a publicly held corporation whose shares are traded on NASDAQ. It has no parent company

and no publicly held corporation owns more than 10% or more of PolarityTE’s shares.
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DATED: August 1, 2018              STOEL RIVES LLP
                                   /s/ Kenneth B. Black
                                   Kenneth B. Black
                                   Michael R. Menssen
                                   Attorneys for Defendants
                                   POLARITYTE, INC.; DENVER LOUGH; and
                                   JEFF DYER




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                               CERTIFICATE OF SERVICE

      I hereby certify that on the 1st day of August, 2018, a true and correct copy of the

foregoing DEFENDANT POLARITYTE, INC.’S RULE 7.1 CORPORATE DISCLOSURE

STATEMENT was served to counsel who have appeared electronically in this action.




                                                    /s/ Rose Gledhill




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